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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

  UNWIRED GLOBAL SYSTEMS
  LLC,

                      Plaintiff,            C.A. NO. 23-01169-CFC
        v.

  PARTICLE INDUSTRIES, INC.,                JURY TRIAL DEMANDED

                      Defendant.

          UNOPPOSED MOTION FOR EXTENSION OF TIME
      FOR DEFENDANT TO ANSWER OR OTHERWISE PLEAD TO
                  PLAINTIFF’S COMPLAINT

      Plaintiff UNWIRED GLOBAL SYSTEMS LLC (“Plaintiff”) files this

unopposed motion for an order extending the deadline for Defendant PARTICLE

INDUSTRIES, INC., (“Defendant”) to respond to Plaintiff’s Complaint for Patent

Infringement until and including January 25, 2024. No party will be prejudiced by

this extension. Accordingly, Plaintiff respectfully submits that good cause exists

under Fed. R. Civ. P. 6(b)(1)(A) for the requested extension. This is the second

request for an extension of this nature.


 Date: December 11, 2023                   Respectfully submitted,

                                           /s/ John C. Phillips, Jr.
                                           John C. Phillips, Jr. (#110)
                                           Megan C. Haney (#5016)
                                           Phillips, McLaughlin & Hall, P.A.
                                           1200 North Broom Street
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                                        Attorneys for Plaintiff
                                        Unwired Global Systems LLC




              SO ORDERED, this ________ day of ________________ 2023.




              The Honorable Colm F. Connolly
              Chief, United States District Court Judge




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